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 4   PHONE: (702) 388-6336
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 5
                                       UNITED STATES DISTRICT COURT
 6                                          DISTRICT OF NEVADA
                                                   -oOo-
 7
     UNITED STATES OF AMERICA,
 8                                                                 2:15-cr-069-JCM-NJK
                                Plaintiff,
 9                                                                 MOTION TO CONTINUE
                     vs.                                           EVIDENTIARY HEARING ON
10                                                                 DEFENDANT’S MOTION TO
     JIANGUO HAN, and                                              SUPPRESS
11   BING HAN,
12                              Defendants.
13              The United States of America, by and through DANIEL G. BOGDEN, United States
14
     Attorney, and Amber M. Craig, Assistant United States Attorney, respectfully moves this Court to
15   continue the evidentiary hearing on Defendant’s Motion to Suppress, currently scheduled for
16   October 29, 2015, at 9:30 a.m., until after January 4, 2016.
17              This stipulation is entered into for the following reasons:
18              1. The Government’s primary witness, Las Vegas Metropolitan Police Department
19   Detective TJ Bachman, is on Family Medical Leave until January 4, 2016.
20              2. The Defendants are out of custody.
21
                3. For the reasons stated above, the ends of justice would best be served by a continuance of
22   the response deadline and detention hearing.
23              4. Additionally, denial of this request for continuance could result in a miscarriage of
24   justice.


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 1          5. The additional time requested by this motion is excludable in computing the time
 2   within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
 3   States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18, United
 4   States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).
 5          6. This is the second request for a continuance of the evidentiary hearing filed herein.
 6          DATED this 26th day of October, 2015.
 7                                                         Respectfully Submitted,
 8                                                         DANIEL G. BOGDEN
                                                           United States Attorney
 9
                                                            /s/ Amber M. Craig
10                                                         AMBER M. CRAIG
                                                           Assistant United States Attorney
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 1
                                       UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
                                                   -oOo-
 3
     UNITED STATES OF AMERICA,
 4
                                Plaintiff,                        2:15-cr-069-JCM-NJK
 5
                     vs.                                          FINDINGS OF FACT, CONCLUSIONS
 6                                                                OF LAW, AND ORDER
     JIANGUO HAN, and
 7   BING HAN,
 8                             Defendants.
                                               FINDINGS OF FACT
 9
                Based upon the Government’s unopposed motion, and good cause appearing therefore, the
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     Court finds that:
11
                1. The Government’s primary witness, Las Vegas Metropolitan Police Department
12
     Detective TJ Bachman, is on Family Medical Leave until January 4, 2016..
13
                2. For the reasons stated above, the ends of justice would best be served by a continuance of
14
     the response deadline and the detention hearing.
15
                3. Additionally, denial of this request for continuance could result in a miscarriage of
16
     justice.
17
                4. The additional time requested is excludable in computing the time within which the trial
18
     herein must commence pursuant to the Speedy Trial Act, Title 18, United States Code, Sections
19
     3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18, United States Code, Sections
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     3161(h)(7)(B)(i) and (h)(7)(B)(iv).
21
                                             CONCLUSIONS OF LAW
22
                The ends of justice served by granting said continuance outweigh the best interest of the
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     public and the Defendant in a speedy trial, since the failure to grant said continuance would be likely
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 1   to result in a miscarriage of justice, would deny the parties herein sufficient time and the opportunity
 2   within which to be able to effectively and thoroughly prepare for trial, taking into account the
 3   exercise of due diligence.
 4          The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
 5   States Code, Sections 3161(h)(1)(A), (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).
 6                                                  ORDER
 7          IT IS THEREFORE ORDERED that the evidentiary hearing, currently scheduled for
 8                                                                   7th          January
     October 26, 2015, at 9:30 a.m., be vacated and continued to the ____ day of __________________,
 9    2016
     ________,                 9:30 a.m., in Courtroom 3D.
               at the hour of _________.
                                    October
10          DATED this 28th
                       ____ day of _______________, 2015.
11

12                                                          ________________________________
                                                            HONORABLE NANCY J. KOPPE
13                                                          UNITED STATES MAGISTRATE JUDGE
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